     Case 2:24-cr-00155-JAD-DJA           Document 96      Filed 01/31/25      Page 1 of 13


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 7
                                    UNITED STATES DISTRICT COURT
 8
                                            DISTRICT OF NEVADA
 9
       UNITED STATES OF AMERICA,                          CASE NO. 2:24-cr-00155-JAD-DJA
10
                                      Plaintiff,
11                                                        DEFENDANT MICHELE FIORE’S
       vs.                                                MOTION FOR JUDGMENT OF
12                                                        ACQUITTAL PURSUANT TO FED. R.
       MICHELE FIORE,                                     CRIM. P. RULE 29
13
                                      Defendant.
14

15     CERTIFICATION: This document is timely filed.

16              Ms. Fiore’s Motion for Acquittal should be granted. Fiore incorporates and renews her
17     earlier motion for judgment of acquittal under Rule 29(a).1 Ms. Fiore seeks acquittal pursuant to
18     U.S. Const. amend. V; Fed. R. Crim. P. 29(c) because the government failed to meet its burden on
19     all counts. Namely, the government did not prove beyond a reasonable doubt the elements of wire
20     fraud. They failed to prove that Ms. Fiore cheated several of the named victims as initial requests
21     for donations were not false based on government witness, Chris Armstrong’s testimony.
22     Additionally, as to certain wire fraud counts, the government did not prove Ms. Fiore solicited the
23     donations for the Beck statute. Lastly, the use of wire to further the scheme to defraud was not
24     met, as the clearing of the checks did not advance the purported scheme.
25              Likewise, the Government failed to prove beyond a reasonable doubt that there was a
26     conspiracy, that is an agreement between Ms. Siegel and Ms. Fiore to commit a crime.
27

28
       1
           ECF 92: 74-85.

                                                     1 of 13
       CLARKHILL\M9636\503106\280663954.v3-1/31/25
     Case 2:24-cr-00155-JAD-DJA           Document 96       Filed 01/31/25    Page 2 of 13


 1                         MEMORANDUM OF POINTS AND AUTHORITIES

 2                                                     I.

 3                                 STATEMENT OF RELEVANT FACTS

 4            On July 16, 2024, the grand jury returned a true bill and an Indictment was filed charging

 5     Ms. Fiore with one count of Conspiracy to Commit Wire Fraud (18 U.S.C. § 1349) and four counts

 6     of Wire Fraud (18 U.S.C. § 1343).2 Ms. Fiore was arraigned and pled not guilty to all counts on

 7     July 19, 2024.3 Ms. Fiore was free at liberty on a personal recognizance bond.4

 8            On August 20, 2024, the grand jury returned a Superseding Indictment charging Ms. Fiore

 9     with one count of Conspiracy to Commit Wire Fraud (18 U.S.C. § 1349) and six counts of Wire

10     Fraud (18 U.S.C. § 1343).5 On September 9, 2024, Ms. Fiore pled not guilty to all counts contained

11     in the Superseding Indictment.6

12            Trial commenced on September 24, 20247 and jury selection consumed the first day. The

13     second day of trial resumed on September 25, 2024.8 The parties made opening statements and the

14     following witnesses testified for the Government: (1) Nicole Beck; (2) Brian Hanlon; (3) Michael

15     Barnes; (4) Douglas Smith; (5) Elizabeth Stavola; and (6) David Chesnoff.

16            On September 26, 2024, the third day of trial resumed.9 The following witnesses testified

17     for the Government: (1) Jay Brown; (2) Robert Groesbeck; (3) Robert Richardson; (4) Shauna

18     Bakkedahl; (5) Tami Montes; (6) Mark Wlaschin; (7) Thomas White; (8) Peter Lee; (9) Cicely

19     Hoffman; and (10) George Kaime.

20            On September 27, 2024, day four of trial resumed10 and the following witnesses testified

21     for the Government: (1) Harry Mohney; (2) Brett Torino; (3) Alyssa Struck; (4) Ronnie Council;

22     and (5) Tara Krumme.

23

24     2
         See ECF No. 1.
       3
         See ECF No. 9.
25     4
         See ECF No. 11.
       5
         See ECF No. 19.
26     6
         See ECF No. 41.
       7
         See ECF No. 82.
27     8
         See ECF No. 87.
       9
         See ECF No. 60.
28     10
         See ECF No. 88.

                                                     2 of 13
       CLARKHILL\M9636\503106\280663954.v3-1/31/25
     Case 2:24-cr-00155-JAD-DJA             Document 96        Filed 01/31/25      Page 3 of 13


 1             Day five of trial took place on September 30, 2024,11 and the following witnesses testified

 2     for the Government: (1) Joseph Lombardo; (2) Peter Palivos; (3) Chris Armstrong; and (4) Sandra

 3     Harris. The Government rested, and the defense called (1) Kyle Jaski; and (2) Sheena Siegel. Ms.

 4     Siegel, the daughter of Ms. Fiore, was an integral defense witness who, unbeknownst to the Court

 5     at the time of her taking the stand, had a Testimonial Use Immunity Agreement in place with the

 6     United States Attorney’s Office, specifically AUSA Steven Myhre, since at least February 1, 2023,

 7     as an unindicted co-conspirator.12

 8             On October 1, 2024, day six of trial commenced.13 The defense called the following

 9     witnesses: (1) Caryn Minowsky; (2) Timothy Johnson; (3) Sheena Siegel; (4) Jorge Lopez; and (5)

10     Cody Fryxell.

11             On October 2, 2024, day seven of trial commenced14 and the defense called Sheena Siegel

12     outside of the presence of the jury.15 Ultimately, over the defense’s objection, Ms. Siegel’s

13     testimony and all exhibits introduced through her testimony was stricken from the record.16

14             On October 3, 2024, the parties presented their closing arguments and submitted the case

15     to the jury.17 The jury returned a verdict, unanimously finding Ms. Fiore guilty of all seven

16     counts.18

17                                                       II.

18                                            LEGAL ARGUMENT

19
           A. Rule 29 Legal Standard
20
               The Federal Rules of Criminal Procedure allow defendants to make a motion for judgment
21
       of acquittal after the government closes its evidence or after the close of all evidence. In deciding a
22
       defendant’s Rule 29 motion, the district court “must enter a judgment of acquittal of any offense
23

24
       11
          See ECF No. 90.
25     12
          See Exhibit A of the Motion for New Trial.
       13
          See ECF No. 91.
26     14
          See ECF No. 92.
       15
          Id. at 34-52.
27     16
          Id. at ECF No. 92, at 12-17.
       17
          See ECF No. 93.
28     18
         Id. at 148-149.

                                                       3 of 13
       CLARKHILL\M9636\503106\280663954.v3-1/31/25
     Case 2:24-cr-00155-JAD-DJA            Document 96       Filed 01/31/25      Page 4 of 13


 1     for which the evidence is insufficient to sustain a conviction.” 19 To decide whether the evidence

 2     was insufficient, the court must consider the evidence in the light most favorable to the prosecution

 3     and determine whether any rational trier of fact could have found the essential elements of the crime

 4     beyond a reasonable doubt.20

 5               While “circumstantial evidence and inferences drawn from it may be sufficient to sustain a

 6     conviction,”21 “a jury will not be allowed to engage in a degree of speculation and conjecture that

 7     renders its finding a guess or mere possibility.” 22 In determining whether the government has

 8     produced sufficient evidence to permit a reasonable jury to return a verdict in the government’s

 9     favor, the Court must consider the applicable burden of proof.23 Due process protects everyone

10     from criminal conviction unless the government proves guilt on each element beyond a reasonable

11     doubt.24 To support a conviction under a beyond a reasonable doubt standard, the evidence and

12     inferences drawn from the evidence must be sufficiently compelling that a hypothetical reasonable

13     fact-finder could have reached “a subjective state of near certitude of the guilt of the accused.”25

14            B. As a Matter of Law, Insufficient Evidence Was Presented to the Jury to Prove Ms.
                 Fiore is Guilty of The Charge of Wire Fraud
15
                 The first step in evaluating a Rule 29 motion is to examine the elements of the charged
16
       conduct—here: Wire Fraud. The elements of wire fraud are: (1) the existence of a scheme to
17
       defraud; (2) the use of wire, radio, or television to further the scheme; and (3) a specific intent to
18
       defraud.26 Section 1343, however, “does not purport to reach all frauds, but only those limited
19
       instances” wherein use of a wire “is a part of the execution of the fraud, leaving all other cases to
20
21
       19
            Fed. R. Crim. P. 29(a).
22     20
         United States v. Inzunza, 638 F.3d 1006, 1013 (9th Cir. 2009) (citing Jackson v. Virginia, 443
23     U.S. 307, 318 (1979) (explaining that “the critical inquiry” is “whether the record evidence could
       reasonably support a finding of guilt beyond a reasonable doubt”)).
24
       21
          United States v. Reyes-Alvarado, 963 F.2d 1184, 1188 (9th Cir. 1992).
25     22
          United States v. Bennett, 621 F.3d 1131, 1149 (9th Cir. 2010).
       23
26        Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 252-53 (1986).
       24
          In re Winship, 397 U.S. 358, 363–64 (1970).
27     25
          Jackson, 443 U.S. at 315.
       26
          18 U.S.C. § 1343.
28

                                                      4 of 13
       CLARKHILL\M9636\503106\280663954.v3-1/31/25
     Case 2:24-cr-00155-JAD-DJA           Document 96       Filed 01/31/25        Page 5 of 13


 1     be dealt with by appropriate state law.”27 A wire communication is “in furtherance” of a fraudulent

 2     scheme if it is incident to the execution of the scheme, meaning that it need not be an essential

 3     element of the scheme, just a step in the plot.28 However, a wire communication cannot be part of

 4     an after-the-fact transaction that, although foreseeable, was not in furtherance of the defendant’s

 5     fraudulent scheme.

 6               Ms. Fiore was charged in Counts 2 through 7 with wire fraud.29

 7      Counts     Donor         Organization          Memo line        Date
        Count 2    Lombardo FFN30                      Statute          7/16/19
 8      Count 3    Stavola       BP31
                                                       None             10/28/19
        Count 4    Brown         BP                    None             12/3/19
 9      Count 5    Palivos       BP                    None             1/21/20
        Count 6    LECET         FFN                   Sponsorship      2/7/20
10      Count 7    Local 872     FFN                   Statute          2/7/20
             Each donor wrote a check to either Bright Present or Future for Nevadans. Those checks
11
       were deposited in their respective Bank of Nevada accounts.32 In opening several Bank of Nevada
12
       accounts, Ms. Fiore checked “no” to domestic wire transfers.33
13
                 Michael Barnes testified to the internal process of Bank of Nevada when they receive
14
       checks.34 That process includes a check getting sent to a clearing house outside of Nevada to settle
15
       checks.35 The Government argued that the clearing of the check satisfies the use of wire element.36
16
                 1.      The Use of Wire was Not Utilized to Further the Scheme So a Judgment of
17                    Acquittal Must be Entered on All Wire Fraud Counts
18               The element of wire fraud that that use of a wire to further scheme could not be found
19

20
       27
            Kann v. United States, 323 U.S. 88 (1944).
21
       28
          United States v. Jinian, 725 F.3d 954, 960 (9th Cir. 2013).
22     29
          ECF 19.
       30
23        Future for Nevadans (PAC).
       31
          The Bright Present Foundation (charity).
24     32
          ECF 90:79-121.
25     33
          Exhibit A -page 31 of Government Exhibit 3, Exhibit B- page 40 of Government Exhibit 2 and
       Exhibit C- page 3 of Government Exhibit 4.
26     34
          ECF 87:66-144.
27     35
          Id. at 122-127.
       36
28        ECF 93: 42.

                                                     5 of 13
       CLARKHILL\M9636\503106\280663954.v3-1/31/25
     Case 2:24-cr-00155-JAD-DJA           Document 96        Filed 01/31/25       Page 6 of 13


 1     beyond a reasonable doubt. At trial, the Government argued that the clearing of the check satisfies

 2     the use of wire element. 37 Yet, this argument cannot be support by the law.

 3            In Kann v. United States,38 Kann, together with six other employees, devised a scheme to

 4     defraud their employer by diverting part of the company's profits to a shell company through which

 5     the defendants distributed the diverted profits in the form of salaries, dividends, and bonuses.39

 6     Kann challenged his mail fraud conviction by arguing that the mailing of the checks by the banks

 7     “could not be for the purpose of executing the scheme since the defendants to whom those checks

 8     were delivered had received the money represented by the checks and each transaction, after such

 9     receipt, was irrevocable as respects the drawer.” 40 The Kann court concluded that, based upon the

10     facts before it, the “subsequent banking transactions between the banks concerned were merely

11     incidental and collateral to the scheme and not a part of it.41 The court further noted that the scheme

12     was “completely executed” once the defendants “received the money intended to be obtained by

13     their fraud.”42 Determining that the funds were irrevocably in the defendants' possession when the

14     checks were deposited or cashed, 43the Kann Court concluded that the subsequent interbank

15     mailings were separate and distinct from the defendants' fraudulent scheme.

16            As part of its analysis, the Kann court stated that a “mailing has ordinarily had a much

17     closer relation to further fraudulent conduct than has the mere clearing of a check....” 44 It also

18     described as “conceivable” that the mere clearing of a check, “alone, in some settings, would be

19     enough” to support a fraud conviction.45

20
21
       37
22        ECF 93:42.
       38
          323 U.S. 88 (1944).
23     39
          Id. at 89-90.
24     40
          Id. at 93.
       41
25        Id. at 95.
       42
          Id.
26     43
          Id. at 94.
27     44
          Id. at 95.
       45
28        Id. at 95 (emphasis added).

                                                      6 of 13
       CLARKHILL\M9636\503106\280663954.v3-1/31/25
     Case 2:24-cr-00155-JAD-DJA           Document 96       Filed 01/31/25      Page 7 of 13


 1             United States v. Jinian,46 is one such case where the court found that the mere clearing of

 2     a check would be enough. However, Jinian is distinguishable from Ms. Fiore’s case. In Jinian, the

 3     defendant informed his employer’s finance manager, that the company's chairman authorized him

 4     to receive compensation more than his annual salary and to draw advances on that compensation.47

 5     The defendant had never received authorization.48 The finance manager began issuing checks and

 6     Jinian deposited these checks into his account.49 In total, Jinian improperly obtain over 1.5 million

 7     from the company.50 The court in upholding Jinian’s conviction stated that his ability to perpetuate

 8     his scheme without interruption for two years was dependent upon the successful completion of

 9     the check clearing process for each company check Jinian deposited into his bank account.51 Jinian

10     depended upon each check successfully clearing through the federal reserve because, if either bank

11     had been left holding the dishonored check, Jinian's scheme would have been discovered.52

12            Here, the use of the wire to further the scheme cannot be shown. First, Ms. Fiore had no

13     personal knowledge that a wire would be utilized in her banking. She utilized a bank that by its

14     very name suggests the banking remains in Nevada. Further, the Government’s own exhibits show

15     that Ms. Fiore never had any intention of herself or her accounts ultizing a wire checking “no” to

16     domestic wire transfers.

17            More importantly, the facts here don’t support that the wires (clearing of the checks) was

18     in furtherance of the alleged scheme. In Jinian, the dollar amount of the check was the fraud. The

19     dollar amount had not been authorized. The clearing was necessary to allow future checks to be

20     issued by the same payor and deposited. If the clearing of the check was halted, the scheme would

21     have been uncovered. The checks issued to Ms. Fiore’s companies were from different individuals

22

23     46
          725 F.3d 954, 959 (9th Cir. 2013).
24     47
          Id. at 959.
       48
25        Id.
       49
          Id.
26     50
          Id.
27     51
          Id. at 962.
       52
28        Id. at 963

                                                     7 of 13
       CLARKHILL\M9636\503106\280663954.v3-1/31/25
     Case 2:24-cr-00155-JAD-DJA           Document 96       Filed 01/31/25     Page 8 of 13


 1     not one person or entity. Thus, the checks were separate transactions that were not dependent on

 2     each other or the same payor of the check. The checks were legitimate checks that would have

 3     never been able to be dishonored because the amount of the check had been authorized. Like Kann,

 4     the checks were irrevocably in Ms. Fiore’s possession when the checks were deposited or cashed.

 5     The subsequent clearing of the checks was separate and distinct from Ms. Fiore’s alleged

 6     fraudulent scheme.

 7            For these reasons, the element of use of a wire in furtherance of the scheme could not have

 8     been found beyond a reasonable doubt. Judgment for Acquittal should be entered on all the wire

 9     fraud counts.

10            2. A Judgment of Acquittal Should Be Entered for Counts 2 -6 Because the
                 Government Did Not Prove a Scheme to Defraud or a Specific Intent to Defraud
11               When those Checks Were Written
12            The element of the defendant acted with the intent to defraud, that is, the intent to deceive
13     and cheat was not met as it relates to Counts 2-6. To be guilty of wire fraud, a defendant must
14     intend to deceive and cheat.53 That is a defendant must act with the intent not only to make false
15     statements or utilize other forms of deception, but also to deprive a victim of money or property
16     by means of those deceptions.54 A defendant acts with the intent to deceive when he “make[s]
17     false statements or utilize[s] other forms of deception[.]”55 A defendant acts with the intent
18     to cheat when he engages in “a scheme or artifice to defraud or obtain money or property” and
19     “deprive[s] a victim of money or property” thereby “cheat[ing] someone out of something
20     valuable.” 56
21            Chris Armstrong testified that the original discussion regarding payment for the statute was
22     that Olympia Companies would pay half of the statute and the City of Las Vegas/Fiore would be
23     responsible for the other half. 57 Mr. Armstong then stated sometime before February 2020 they
24
       53
25         United States v. Miller, 953 F.3d 1095, 1101 (9th Cir. 2020).
       54
           Id. at 1101-1103.
26     55
          Id. at 1101.
27     56
          Id.
       57
28         ECF 90:56.

                                                     8 of 13
       CLARKHILL\M9636\503106\280663954.v3-1/31/25
     Case 2:24-cr-00155-JAD-DJA           Document 96        Filed 01/31/25      Page 9 of 13


 1     advised the City of Las Vegas/Fiore that Olympia would pay for the entire statute.58 The

 2     Government’s own witness admitted that the initial plan was for the cost of the statute to be

 3     divided. It was only at some later time, Olympia allegedly verbally, not in writing, advised that

 4     they were footing the entire bill. Counts 2-5 were checks cut prior to February 2020. Thus, when

 5     those particular checks were cut purportedly at the request of Ms. Fiore, there was still a perception

 6     that the statute needed to be funded by the City. Therefore, it was impossible for Ms. Fiore to

 7     deceive the donors because any requests for donations for the statute and the opening of Beck Park

 8     would not have been a false statement at the time the donations were requested. Without an act to

 9     deceive, there cannot be wire fraud.

10            3. Counts 2, 5, 6 Could Not Be Proven Beyond a Reasonable Doubt

11                As argued in the Motion for New Trial, there is evidence that Jay Brown not Ms. Fiore

12     requested a donation from Joseph Lombardo. Likewise, there was no testimony from Mr. Brown

13     that he solicited donations on the behest of Ms. Fiore. If Ms. Fiore did not solicit or caused to be

14     solicited the donation from Mr. Lombardo, then there is no evidence of an intent to deceive or

15     cheat. Therefore, the conviction for Count 2 cannot stand.

16            Count 5 cannot stand as Mr. Palivos donated the money with the intention that it be used

17     for veterans, homeless or law enforcement.59Although the government argued that the money was

18     not used for the Beck statute, the government did not prove that the donation did not go to benefit

19     one of Ms. Fiore’s numerous community events that benefit the homeless and veterans.

20            Lastly, count 6 is supported with a check from LECET. However, the memo line for this

21     check states “sponsorship.”60 Count 6 and 7 checks are signed by the same person, Tommy

22     White.61 Yet, the check associated with Count 7, includes in the memo line – Alyn Beck statute.

23     If the donation in Count 6 was also for the statute, it begs the question why Mr. White chose to

24     write “sponsorship” and not “statute” in the memo line. The evidence does not prove beyond a

25
       58
          ECF 90:57, 72.
26     59
          ECF 90:46.
27     60
          Government Exhibit 63, page 45.
       61
28        Id.

                                                      9 of 13
       CLARKHILL\M9636\503106\280663954.v3-1/31/25
     Case 2:24-cr-00155-JAD-DJA           Document 96      Filed 01/31/25     Page 10 of 13


 1     reasonable doubt that the check associated with Count 6 was for the statute and there Ms. Fiore

 2     could not have cheated LECET out of their money.

 3          C. As a Matter of Law, Insufficient Evidence Was Presented to the Jury to Prove Ms.
               Fiore is Guilty of The Charge of Conspiracy
 4
            For the government to sustain a conviction for conspiracy, it must prove:
 5
              1.       First, beginning at least as early as July 2019, and ending on or about
 6
                       February 2020, there was an agreement between two or more persons to
 7                     commit wire fraud, as charged in the Indictment; and

 8            2.       Second, Ms. Fiore became a member of the conspiracy knowing of at least
                       one of its objects and intending to help accomplish it.62
 9
              A stated in Ninth Circuit Model Jury Instruction, 11.1:
10
              For a conspiracy to have existed, it is not necessary that the conspirators made a
11            formal agreement or that they agreed on every detail of the conspiracy. It is not
              enough, however, that they simply met, discussed matters of common interest,
12
              acted in similar ways, or perhaps helped one another. You must find that there was
13            a plan to commit at least one of the crimes alleged in the indictment as an object of
              the conspiracy with all of you agreeing as to the particular crime which the
14            conspirators agreed to commit.
15            One becomes a member of a conspiracy by knowingly participating in the unlawful
              plan with the intent to advance or further some object or purpose of the conspiracy,
16
              even though the person does not have full knowledge of all the details of the
17            conspiracy. Furthermore, one who knowingly joins an existing conspiracy is as
              responsible for it as the originators. On the other hand, one who has no knowledge
18            of a conspiracy, but happens to act in a way which furthers some object or purpose
              of the conspiracy, does not thereby become a conspirator. Similarly, a person does
19            not become a conspirator merely by associating with one or more persons who are
20            conspirators, nor merely by knowing that a conspiracy exists.

21            First, as there was insufficient proof of wire fraud, the underlying charge, the verdict on

22     the conspiracy charge cannot be sustained.63 However, even if this Court believes that sufficient

23     proof existed to return a guilty verdict on the underlying wire fraud charges, the conspiracy still

24     cannot stand.

25
       62
         See Ninth Circuit Model Jury Instruction 11.1, Conspiracy – Elements.
26     63
         See United States v. Manarite, 44 F.3d 1407, 1413 (9th Cir. 1995), as amended on denial of
27     reh'g (Mar. 15, 1995)(If the judge instructs the jury that it need find only one of the multiple
       objects, and the reviewing court holds any of the supporting counts legally insufficient, the
28     conspiracy count also fails).

                                                     10 of 13
       CLARKHILL\M9636\503106\280663954.v3-1/31/25
     Case 2:24-cr-00155-JAD-DJA           Document 96        Filed 01/31/25      Page 11 of 13


 1            There was insufficient evidence presented to the jury to prove that Ms. Fiore entered into

 2     an agreement to commit criminal wire fraud. Indeed, not a single donor testified as to anything

 3     about Ms. Siegel. In that same vein, donors that testified stated that the funds solicited for creation

 4     of the Beck statue came from Jay Brown or another source – not Ms. Fiore.64 Indeed, some had no

 5     knowledge of Ms. Fiore or her various entities.65 Not only did the Government fail to prove a

 6     conspiracy, it failed to prove that Ms. Fiore was aware of the checks received from donors and

 7     their intended purpose66 or Ms. Fiore’s intent to accomplish the scheme. The Government’s

 8     evidence relies on speculation and conjecture, not concrete proof of Ms. Fiore’s involvement in

 9     the conspiracy.

10            The Government did not prove that there was any agreement between Ms. Fiore and at

11     least one other person to commit wire fraud. While the agreement need not be explicit,67 it is not

12     enough that they “simply met, discussed matters of common interest, acted in similar ways, or

13     perhaps helped one another.”68 Further, the Government must show that the conspirators had a

14     mutual understanding to accomplish the unlawful design.69Although it did not call Ms. Sheena

15     Siegel as a witness, the Government argued (for the first time) in closing statements that Ms. Siegel

16     “was an instrumental part of [] her mother’s scheme. She was a co-conspirator.”70 This was

17     convenient, as the jury had already heard Ms. Siegel assert her Fifth Amendment privilege after

18     the Government improperly and without authority withdrew her Immunity Agreement.71 However,

19     simply calling Ms. Siegel a co-conspirator was not sufficient and Ms. Fiore cannot be convicted

20
21     64
          See ECF No. 60, at 43:9-25; 44:1-25; 45:1-4; see also Trial Exhibit 50; ECF No.88, at 15:4-15;
22     ECF No. 60, at 58:13-17.
       65
          Id.
23     66
          Most of the checks did not even have anything written in the Memo Line section.
24     67
          United States v. Green, 592 F.3d 1057, 1067 (9th Cir. 2010).
       68
25        See Ninth Circuit Model Jury Instruction 11.1 (emphasis added).
       69
          United States v. Hubbard, 96 F.3d 1223 (9th Cir. 1996).
26     70
          See ECF No. 93, at 65:16-18.
       71
27        After the Government withdrew the immunity agreement, the Government asked Ms. Siegel if
       she conspired with her mom to defraud donors who gave money for the Beck statute which on
28     advice of counsel asserted her privilege. ECF No. 91: 120:20-22.

                                                      11 of 13
       CLARKHILL\M9636\503106\280663954.v3-1/31/25
     Case 2:24-cr-00155-JAD-DJA           Document 96        Filed 01/31/25   Page 12 of 13


 1     of a conspiracy based solely on association with her own daughter. The jury’s conclusion was

 2     erroneous and based on the stricken testimony of Ms. Siegel, which is improper.

 3
                                                      III.
 4
                                                 CONCLUSION
 5
              For the following reasons, Ms. Fiore’s Motion for Judgment of Acquittal should be granted.
 6
                      Dated this 31st day of January, 2025.
 7
                                                         CLARK HILL PLLC
 8

 9                                                        /s/ Paola M. Armeni, Esq.
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                                                         Attorneys for Defendant, Michele Fiore
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       CLARKHILL\M9636\503106\280663954.v3-1/31/25
     Case 2:24-cr-00155-JAD-DJA           Document 96      Filed 01/31/25     Page 13 of 13


 1                                       CERTIFICATE OF SERVICE

 2            The undersigned, an employee of Clark Hill PLLC, hereby certifies that on the 31st day of

 3     January, 2025, I served a copy of the DEFENDANT MICHELE FIORE’S MOTION FOR

 4     JUDGMENT OF ACQUITTAL PURSUANT TO FED. R. CRIM. P. RULE 29 (via the

 5     Court’s CM/ECF electronic filing system addressed to all parties on the e-service list.

 6
       Alexander Byrne Gottfried       alexander.gottfried@usdoj.gov
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       Dahoud Askar      Dahoud.Askar@usdoj.gov, heather.depremio2@usdoj.gov
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 9
10                                                        /s/ Tanya Bain
                                                         An employee of CLARK HILL PLLC
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